Case 8:22-cv-01275-SDM-TGW Document 230 Filed 08/18/22 Page 1 of 4 PageID 11238


                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


     COLONEL FINANCIAL MANAGEMENT
     OFFICER, et al.,

            Plaintiffs,

     v.                                                     CASE NO. 8:22-cv-1275-SDM-TGW

     LLOYD AUSTIN, Secretary of the
     Department of Defense, et al.,

           Defendants.
     ___________________________________/


                                                  ORDER

            Moving (Doc. 205) to dismiss the third amended complaint, the Marine Corps

     argues (1) that the plaintiffs’ RFRA and First Amendment claims remain unripe for

     failure to exhaust the administrative remedy, (2) that the plaintiffs are misjoined, and

     (3) that venue for some of the plaintiffs is improper in the Middle District of Florida. 1

     For the reasons explained in the order (Doc. 229) on the motion for class certifica-

     tion and for preliminary injunction, the ripeness and administrative exhaustion argu-

     ments fail.

            Challenging joinder, the Marine Corps argues that the resolution of each

     plaintiff’s claim requires an “individualized analysis” both as “to the alleged



            1
              Also, the defendants move to dismiss the plaintiffs’ statutory informed-consent claims
     (Count I) on which an earlier order denied a preliminary injunction. (Doc. 40) A separate order will
     address the defendant’s motion to dismiss these claims, which are distinct from the RFRA and First
     Amendment claims.
Case 8:22-cv-01275-SDM-TGW Document 230 Filed 08/18/22 Page 2 of 4 PageID 11239



     substantial burden,” as “to the Marine Corps’[s] compelling interest” in requiring

     each Marine’s vaccination, and as “to the less restrictive measure” for each Marine.

     (Doc. 205 at 20–21) As explained in the order certifying a class and granting a pre-

     liminary injunction, the Marine Corps’s argument reveals a misapprehension of the

     claim the plaintiffs pursue in this action, a class action. Indeed, RFRA requires an

     “individualized analysis,” but RFRA imposes the burden of an individualized analy-

     sis on the Marine Corps. The uniform, categorical, systematic, and purposeful fail-

     ure of the Marine Corps to conduct the individualized assessment demanded by

     RFRA is the claim that the plaintiffs pursue in this class action. And although the

     defendants contend that the sincerity of each plaintiff’s religious objection is subjec-

     tive and requires individualized assessment, the sincerity of each plaintiff (and of

     each member of the class, as defined) is baked into the record: each plaintiff and

     member of the class has received a chaplain’s affirmation of sincerity and each plain-

     tiff and member of the class has confirmed sincerity by resolutely adhering to a reli-

     gious conviction despite a direct order to accept vaccination. No order can (or will)

     craft an accommodation for each religiously objecting service member, but an order

     can enjoin the Marine Corps’s uniform failure to discharge the burden imposed by

     RFRA. Because the class presents a uniform claim capable of uniform resolution,

     the misjoinder argument fails.

            Challenging venue, the defendants observe that only four of the fifteen plain-

     tiffs reside in the Middle District of Florida and that three of these four plaintiffs fail



                                                 -2-
Case 8:22-cv-01275-SDM-TGW Document 230 Filed 08/18/22 Page 3 of 4 PageID 11240



     to present a ripe claim because their appeals remain pending. 2 Midshipman 2/C, a

     Marine domiciled in Polk County (Doc. 195 ¶ 38), presents a robustly ripe claim be-

     cause the Marine Corps has finally denied her request for religious accommodation

     and ordered her to accept COVID-19 vaccination despite her sincere religious objec-

     tion. The other three plaintiffs residing in the Middle District of Florida present a

     ripe claim because the complaint alleges each appeal is likely futile because the Ma-

     rine Corps grants no religious accommodation. Because the complaint includes four

     plaintiffs presenting a ripe claim and residing in the Middle District of Florida, the

     Middle District of Florida is a proper venue for each plaintiff. A.J. Taft Coal Co. v.

     Barnhart, 291 F. Supp. 2d 1290, 1301–02 (N.D. Ala. 2003) (collecting cases holding

     that venue is proper if at least one plaintiff satisfies 28 U.S.C. § 1391(e)).

                                               CONCLUSION

             For these reasons and others explained by the plaintiffs in the response

     (Doc. 228), the motion (Doc. 205) to dismiss is DENIED except the request for dis-

     missal of the informed consent claim, Count I, which remains UNDER




             2
               Under 28 U.S.C. § 1391(e), an action suing an official of the United States may “be
     brought” in, among other places, the judicial district in which “the plaintiff resides if no real prop-
     erty is involved in the action.”
                                                       -3-
Case 8:22-cv-01275-SDM-TGW Document 230 Filed 08/18/22 Page 4 of 4 PageID 11241



     ADVISEMENT. Also, the motions at Doc. 93, 94, 130, 139, and 141, each over-

     taken by events, are DENIED AS MOOT.

           ORDERED in Tampa, Florida, on August 18, 2022.




                                          -4-
